AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
     UNITED STATES OF AMERICA                                           )   JUDGMENT IN A CRIMINAL CASE
                                                                        )   (For Revocation of Probation or Supervised Release)
                 V.                                                     )   (For Offenses Committed On or After November 1, 1987)

                                                                        )
     KEVIN CHRISTOPHER MAKERSON                                         )   Case Number: DNCW104CR000064-001
                                                                        )   USM Number: 18675-058
                                                                        )
                                                                        )   Theadore J. Besen
                                                                        )   Defendant’s Attorney


THE DEFENDANT:
 ☒ Admitted guilt to violation of condition 1 of the term of supervision.
 ☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

  Violation                                                                                                   Date Violation
  Number           Nature of Violation                                                                         Concluded
      1            NEW LAW VIOLATION - CONSPIRACY TO POSSESS WITH INTENT TO                                    6/16/2015
                   DISTRIBUTE A SCHEDULE II CONTROLLED SUBSTANCE, THAT BEING
                   COCAINE BASE; POSSESSION WITH INTENT TO DISTRIBUTE COCAINE
                   BASE


       The Defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

 ☐       The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
 ☒       Violation 2 is dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                 Date of Imposition of Sentence: 8/24/2017
                                                                                  Signed: August 31, 2017




                                                                                 Date: August 31, 2017




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Defendant: Kevin Christopher Makerson
Kevin Christopher Makerson                                                                                 Judgment- Page 2 of 2
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                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THIRTY (30) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL RUN
CONSECUTIVELY TO ANY TERM OF IMPRISONMENT IMPOSED BY THIS COURT IN
CASE NO. 1:17-CR-59.

☒ The Court makes the following recommendations to the Bureau of Prisons:
         1. Participation in any available educational and vocational opportunities.
         2. Participation in any available substance abuse treatment program and if eligible receive benefits of
            18:3621(e)(2).
         3. Defendant shall support all dependents from prison earnings.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                  By:
                                                                                         Deputy Marshal




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